Case 3:18-cv-00320-PRI\/| Document 24 Filed 04/03/19 Page 1 of 30

IN THE UNITED STATES DISTRICT C()URT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

NAUTILUS INSURANCE
COMPANY a/s/o LARIAT
BUILDERS GROUP
CORPORATION,
Plaintiff,
EP-lS-CV-320-PRM
v.

A BEST AMERICAN
ROOFING, LLC,
Defendant.

mm@mimw?@mbmm¢m

MEMORANDUM OPINION AND ORDER GRANTING IN PART
AND DENYING IN PART MOTION F()R ENTRY OF DEFAULT
JUDGMENT
On this day, the Court considered Plaintiff Nautilus lnsurance

Cornpany a/s/o Lariat Builders Group Corporation’s [hereinafter
“Plaintiff”] “Motion for Entry of Default Judgrnent” (ECF No. 16)
[hereinafter “Motion”], filed on February 25, 2019; Plaintiff’ s
“Supplernental Brief in Support of Causes of Action” (ECF No. 19)
[hereinafter “Supplernental Brief”], filed on lVlarch 18, 2019; and
Plaintiff s “Affidavit in Support of Claim for Darnages” (ECF No. 22)
[hereinafter “Affidavit”], filed on l\_/larch 28, 2019, in the above-captioned

cause. After due consideration, the Court is of the opinion that the Motion

should be granted in part, With respect to Plaintiff’ s negligence claim, and

Case 3:18-cv-00320-PRI\/| Document 24 Filed 04/03/19 Page 2 of 30

denied in part, With respect to Plaintiff’s breach of Warranty claim, for the
reasons that follow.
I. FACTUAL AND PROCEDURAL BACKGROUND

On October 26, 2018, Plaintiff filed its Complaint, bringing
negligence, gross negligence, and breach of Warranty claims against
Defendant in connection With the roofing services that Defendant
provided. Compl., ECF No. 1. Plaintiff is an insurance company that
issued a policy of insurance to Lariat Builders Group Corporation. Id. at
1. Plaintiff’ s insured, Lariat Builders Group Corporation, entered into a
contract With lmmanuel Baptist Church (“the Church”) to provide certain
services, including roof replacement of the commercial property located at
1201 Havvkins, El Paso, TX. Compl. Ex. A. As a General Contractor,
Plaintiff’ s insured entered into a Sub-Contractor Agreement With
Defendant, Wherein Defendant, as a Sub-Contractor, agreed to perform
roofing services for the Church’s property. Compl. 2; Compl. Ex. A.

Plaintiff alleges that the roofing Work commenced on a date prior to
July 7, 2017. Id. On July 7, 2017, heavy rainfall caused Water to enter
the Church, “resulting in subsequent damage to several areas of the

church, including the gym, cafeteria, two classrooms, a chapel and office

2

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 3 of 30

areas.” Id. According to Plaintiff, the Water damage “vvas due to
[Defendant]’s failure to properly secure the roof prior to the rain storm.”
Id. at 3. Accordingly, Plaintiff alleges that its insured “sustained damages
and other related expenses in the amount of $7 7 ,183.13.” Id. Plaintiff
further alleges that “[p]ursuant to its policy of insurance With its insured,
[Plaintiff] has paid to its insured, and on their behalf, in the amount of
$7'7,183.13 and has become legally, contractually and equitably
subrogated to the rights of its insureds to the extent of such payments.”
Id. at 3. Based on these allegations, Plaintiff brings claims of negligence,
gross negligence, and breach of Warranty against Defendant, seeking
damages, interest, costs of suit, and exemplary damages, Compl. 3-6.

On November 19, 2018, Plaintiff served summons on Elena Hart, an
individual designated by law to accept service of process on behalf of
Defendant. Summons Returned Executed, Dec. 20, 2018, ECF No. 5. On
January 29, 2019, the Court issued its “Order to ShoW Cause,” ordering
Plaintiff to show cause as to Why Plaintiff had not moved for an entry of
default against Defendant. Order to ShoW Cause, ECF No. 13. On
January 30, 2019, Plaintiff filed its “Request for Entry of Default.” ECF

No. 14. As Defendant failed to appear or answer the Complaint Within

_ 3

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 4 of 30

the time allowed by laW, the Clerk entered default on February 7, 2019.
Entry of Default by District Clerk, ECF No. 15. On February 25, 2019,
Plaintiff filed its Motion and moved for entry of default judgment The
Court requested that Plaintiff provide documents in support of Plaintiff"s
damages claims and supplemental briefing citing applicable case law and
demonstrating how Plaintiff s factual allegations support Plaintiff s
causes of action. Order Req. Doc. in Supp. of Pl.’s Mot. for Entry of
Default J., Mar. 14, 2019, ECF No. 18. Accordingly, on l\/larch 18, 2019,
Plaintiff filed its Supplemental Brief. Therein, Plaintiff “respectfully
WithdraWs its claims of gross negligence and its request for exemplary
damages” due to Plaintiff s inability to engage in discovery to obtain
evidence necessary to support Plaintiff s gross negligence claim. Suppl.
. Br. 4. ln addition, on March 28, 2019, Plaintiff filed its Affidavit, Which
details the basis for Plaintiff s damages claim and provides documents in
support of those damages
II. LEGAL STANDARD

Plaintiff must establish three elements to obtain a default judgment:
(1) default; (2) entry of default; and (3) default judgment N. Y. Life Ins.

Co. U. Brown, 84 F.3d 137, 141 (5th Cir. 1996).

4

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 5 of 30

A default occurs When “a defendant has failed to plead or otherwise
respond to the complaint within the time required by the Federal Rules.”
Id. The clerk of the court will enter an entry of default When default is
established by affidavit or otherwise. Id. (citing Fed. R. Civ. P. 55(a)).
After the clerk’s entry of default, “a plaintiff may apply for a judgment
based on such default. This is a default judgment.” Id.

Defendant has not appeared Consequently, the Clerk of the Court
entered default. See Entry of Default by District Clerk, Feb. 7, 2019, ECF
No. 15. Therefore, the Court must determine whether default judgment is
appropriate

Courts have developed a two-part analysis in determining whether a
default judgment should be entered against a defendant See, e.g., Ins.

Co. of the W. v. H& G Contractors, Inc., No. C-lO-390, 2011 WL 4738197,
at *2-3 (S.D. Tex. Oct. 5, 2011). First, the Court must consider whether
the entry of default judgment is appropriate under the circumstances See
Lindsey u. Prive Corp., 161 F.3d 886, 893 (5th Cir. 1998). The Court looks
to the following factors to determine Whether a default judgment is
appropriate:

[1] whether material issues of fact are at issue, [2] whether
there has been substantial prejudice, [3] whether the grounds

5

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 6 of 30

for default are clearly established, [4] whether the default Was
caused by a good faith mistake or excusable neglect, [5] the
harshness of a default judgment, and [6] Whether the court
would think itself obliged to set aside the default on the

defendant’s motion.

Id.

Second, the Court must assess the merits of the plaintiffs claims
and find sufficient basis in the pleadings for the judgment, See
Nishimatsu Const. Co. v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir.
1975). “The defendant, by his default, admits the plaintiffs well-pleaded
allegations of fact. . . .” Id. Although the defendant may be in default,
“[t]he defendant is not held to admit facts that are not well-pleaded or to
admit conclusions of law.” Id. A complaint is “well-pleaded” and suffices
to support a default judgment if the allegations satisfy the requirements
of Federal Rule of Civil Procedure 8. Wooten v. McDonald Transit Assocs.,
Inc., 788 F.3d 490, 498 (5th Cir. 2015). Specifically, the factual
allegations “need only ‘be enough to raise a right to relief above the
speculative level, on the assumption that all the allegations in the
complaint are true (even if doubtful in fact).”’ Id. (quoting Bell Atl. Corp.
1). Twombly, 550 U.S. 544, 555 (2007)). “‘[D]etailed factual allegations’ are

not required, but the pleading must present ‘more than an unadorned,

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 7 of 30

the-defendant-unlawfully-harmed-me accusation.”’ Id. (quoting Ashcroft
u. Iqbal, 556 U.S. 662, 678 (2009)).

The Fifth Circuit has often cautioned that “[d]efault judgments are a
drastic remedy, not favored by the Federal Rules and resorted to by courts
only in extreme situations.” Lewis u. Lynn, 236 F.Bd 766, 767 (5th Cir.
2001) (quoting Su,n Bank of Oca,la v. Pelican Homestead & Savings Ass’n,
874 F.2d 274, 276 (5th Cir. 1989)). Indeed, such orders are “available only
When the adversary process has been halted because of an essentially
unresponsive party.” Sun Bank of Ocala, 874 F.2d at 276 (quoting H.F.
Livermore Corp. v. Aktiengesellscha/t Gebruder Loepfe, 432 F.2d 689, 691
(D.C. Cir. 1970)). Thus, as the decision to enter a default judgment lies
Within the discretion of the district judge, a “party is not entitled to a
default judgment as a matter of right, even where the defendant is
technically in default.” Lewis, 236 F.3d at 767 (quoting G'cmther v. lngle,

75 F.sd 207, 212 (5th Cir. 1996)).

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 8 of 30

III. ANALYSIS

A. Default Judgment Factors

ln deciding whether default judgment is appropriate in this case, the
Court first considers the six factors outlined in Lindsey. The Court finds
that these factors all Weigh in favor of a default judgment

First, no material issues of fact exist because Defendant failed to
respond or plead. Second, Defendant does not incur substantial prejudice
because it failed to contest any of the allegations The Court accepts
Defendant’s silence as an admission that Plaintiff s allegations are true.
See Nishimatsu Const., 515 F.2d at 1206 (noting that a “defendant, by his
default, admits the plaintiffs well-pleaded allegations of fact”). Since
Defendant admits the allegations against it, it does not face any prejudice.
Conversely, substantial prejudice exists against Plaintiff given that
Defendant’s silence has halted the adversarial process. For example,
Plaintiff was unable to obtain discovery from Defendant See Suppl. Br. 4
(withdrawing gross negligence claim and request for exemplary damages
in light of Plaintiff s inability to engage in discovery). Third, Plaintiff s
service and Defendant’s failure to appear establish grounds for default

judgment Fourth, Defendant has failed to claim the presence of a good

8

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 9 of 30

faith mistake or excusable neglect Fifth, the lack of any apparent
defenses or excuses for Defendant’s default makes this a reasonable
default judgment Nothing about the circumstances of this request or the
amount claimed makes this judgment particularly “harsh.” Sixth, and
finally, while the entry of the default judgment is extreme and not favored
by the Federal Rules, the Court is unaware of good cause to set aside the
default given Defendant’s failure to answer or otherwise respond.
Cons`equently, the Lindsey factors weigh in favor of default See Lindsey,
161 F.3d at 893.

B. Plaintiff’s Pleadings

The Court recognizes that “a defendant’s default does not in itself
Warrant the court in entering a default judgment.” Nishimatsu Const.,
515 F.2d at 1206. Rather, “[t]here must be a sufficient basis in the
pleadings for the judgment entered.” Id. The Court finds that this
requirement is satisfied for Plaintiff s negligence claim but is not satisfied
for Plaintiffs breach of warranty claim for the following reasons.

1. Plaintiff s Status as Subrogee
Plaintiff is an insurance company and brings this action as subrogee

of its insured, Lariat Builders Group Corporation. See Compl. 1.

9

Cas'e 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 10 of 30

“Insurers may have either ‘contractual’ subrogation rights, which arise
from contract language, or ‘equitable’ subrogation rights, which exist in
equity to prevent the insured from receiving a double recovery to the
insurer’s detriment” Concierge Nursing Centers, Inc. U. Antex Roofing,
Inc., 433 S.W.3d 37, 44 (Tex. App. 2013) (citing Fortis Benefits v. Cantu,
234 S.W.3d 642, 647 (Tex. 2007)). “Either way, ‘the principle of
subrogation provides that once an insured is made whole from his
damages, the insurer that has paid for the insured’s covered losses is
entitled to the insured’s rights and remedies against a third party for the
covered losses.”’ Id. (quoting Osborne u. Jauregui, Inc., 252 S.W.3d 7 0, 78
(Tex. App. 2008)). “Generally, rights conferred by subrogation are entirely
derivative of the subrogor’s interests, to Which the subrogee merely
succeeds.” Id. at 45 (quoting Guillot u. Hix, 838 S.W.2d 230, 232 (Tex.
1992)). “When an insurer pays out on its insured’s loss, it becomes a ‘pro
tanto owner’ of the cause of action. This means that the insurer receives
‘the rights of its insured to the extent of payments made under the

773

insurance contract Id. (internal citations omitted) (first citing Thoreson
v. Thompson, 431 S.W.2d 341, 347 (Tex. 1968); and then citing Warwick

Towers Council of Co-Owners ex rel. St. Paul Fire & Marine Ins. Co. v.

10

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 11 of 30

Park Warwick, L.P., 298 S.W.3d 436, 440 (Tex. App. 2009); and then
quoting Rushing v. Int’l Aviation Underwriters, Inc., 604 S.W.2d 239, 243
(Tex. Civ. App. 1980), writ refused NRE (Dec. 17, 1980)). Accordingly,
“the insurer as subrogee does not own the entire claim as if the claim were
wholly transferred by an assignment; it has only the right to recover an
amount equal to its payment under the insurance policy.” Id. (citing
Rushing, 604 S.W.2d at 244).

Here, Plaintiff alleges that “[p]ursuant to its policy of insurance with
its insured, [Plaintiff] has paid to its insured, and on their behalf, in the
amount of $7 7 ,183.13 and has become legally, contractually and equitably
subrogated to the rights of its insureds to the extent of such payments.”
Icl. at 3. Accordingly, accepting Plaintiff s well-pleaded allegations as
true, Plaintiff has sufficiently pleaded its status as subrogee of its
insured, Lariat Builders Group Corporation. Plaintiff s status as subrogee
is further supported by the copy of its insurance policy With the insured,
See Aff. Ex. D. Therefore, Plaintiff is the “pro tanto” owner of its insured’s
cause of action and may seek to recover an amount equal to its payment to
its insured to the extent that its insured would have a cause of action

against Defendant

11

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 12 of 30

2. Ne gligence

“Negligence actions in Texas require ‘a legal duty owed by one
person to another, a breach of that duty, and damages proximately caused
by the breach.”’ Nabors Drilling, U.S.A., In,c. u. Escoto, 288 S.W.3d 401,
404 (Tex. 2009) (quoting D. Houston, Inc. u. Loue, 92 S.W.3d 450, 454
(Tex. 2002)). Texas courts “have recognized that a duty to use reasonable
care may arise when a person undertakes to provide services to another,
either gratuitously or for compensation.” Torrington Co. v. Stutzman, 46
S.W.3d 829, 837 (Tex. 2000). Additionally, Texas courts have “observed
that a common law duty to perform with care and skill accompanies every
contract and that the failure to meet this implied standard might provide
a basis for recovery in tort, contract, or both under appropriate
circumstances.” Chapman Custom Homes, Inc. U. Dczllas Plumbing Co.,
445 S.W.3d 716, 718 (Tex. 2014) (citing Montgomery Ward & Co. v.
Scharrenbeck, 146 Tex. 153, 157, 204 S.W.2d 508, 510 (1947)).

“[A] party states a tort claim when the duty allegedly breached is
independent of the contractual undertaking and the harm suffered is not

merely the economic loss of a contractual benefit.” Id. (first citing

LAN/STV v. Martin K. Eby Const. Co., 435 S.W.3d 234, 242 (Tex. 2014);

12

Case 3:18-cv-00320-PR|\/|` Document 24 Filed 04/03/19 Page 13 of 30

and then citing Sw. Bell Tel. Co. u. DeLanney, 809 S.W.2d 493, 494-95
(Tex. 1991)). ln Chapm,an Custom Homes, the Texas Supreme Court held
that the plaintiff homeowner properly stated a negligence claim against a
plumber when “[t]he plumber’s duty not to flood or otherwise damage the
house [was] independent of any obligation undertaken in its plumbing
subcontract with the builder, and the damages allegedly caused by the
breach of that duty extend[ed] beyond the economic loss of any anticipated
benefit under the plumbing contract.” Chapman Custom Homes, Inc., 445
s.W.sd at 718-19.

Here, Plaintiff s well-pleaded factual allegations sufficiently support
a negligence cause of action. First, Plaintiff alleges that Defendant “had a
duty to persons such as Plaintiff s insured to exercise due care in taking
reasonable and necessary actions to provide proper Weather protection so
as to avoid causing water and other damages.” Compl. 3. Plaintiff further
explains in its Supplemental Brief that, like the plumber in Chapman
Custom Homes, Inc., Defendant “assumed an implied duty not to flood or
otherwise cause Water damage [to] the church while performing its
contract With the Plaintiff s insured.” Suppl. Br. 3 (citing Chapman

Custom Homes, Inc., 445 S.W.3d at 717-18).

13

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 14 of 30

Furthermore, Plaintiff alleges that Defendant failed to take

” £¢

“reasonable” and “necessary actions to properly protect the roof from
heavy rain fall”; failed to “properly [provide] roofing services in a
reasonable manner”; and failed to “provide Weather protection so as to
avoid the risk of Water damage.” Compl. 3-4. Plaintiff contends that
Defendant’s failure to prevent water damage to the Church While
Defendant performed its contract “constituted a breach of its duty.”

Suppl. Br. 3. Finally, Plaintiff alleges that Defendant’s negligent conduct
was the proximate cause of the resulting damage to the Church and the
subsequent damages suffered by Plaintiff. Compl. 4.

The Court finds that Plaintiff s allegations are well-pleaded, as they
raise Plaintiff s right to relief on Plaintiff s negligence claim above the
speculative level and are “more than an unadorned, the-defendant-
unlawfully-harmed-me acc_usation.” See Wooten, 788 F.3d at 498 (quoting
Iqbal, 556 U.S. at 678). Accordingly, Defendant is deemed to have
admitted Plaintiff s Well-pleaded allegations See Nishimatsu, 515 F.2d at
1206. Thus, Plaintiff s allegations support a negligence cause of action:

Defendant had a duty to exercise reasonable care in performing its

contract With Plaintiff s insured, Defendant breached that duty by failing

14

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 15 of 30

to properly protect the roof from rain fall, and Defendant’s breach of its
duty caused damages to Plaintiff s insured, Accordingly, the Court finds
sufficient basis in the pleadings for default judgment on Plaintiff s
negligence claim.
3. Breach of Warrantv

ln addition, Plaintiff brings a breach of warranty claim against
Defendant, alleging that “Defendant implied that the roofing Work Would
be performed in a workmanlike manner and with the necessary
knowledge, skill, care and ability” and that “Plaintiff relied on
Defendant’s skills, judgment and implied warranties of fitness and
merchantability, as well as the other warranties made by Defendant with
respect to the roofing work.” Compl. 5. Plaintiff s l\/lotion and
Supplemental Brief do not put forth additional support or authority for
Plaintiff s breach of Warranty claim. After due consideration, the Court
concludes that Plaintiff fails to establish that Defendant breached the
implied warranty to repair or modify existing tangible goods or property
in a good and workmanlike manner. Furthermore, Plaintiff has not
established the existence of an implied warranty to perform roof

replacement services in a good and Workmanlike manner. Finally,

15

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 16 of 30

Plaintiff has not demonstrated that Defendant breached the implied
warranties of fitness and merchantability,

i. Im,plied Warranty to Repair or Modify Existing
Tcmgible Goods in Good and Workmanlike Mcmner

“The Supreme Court of ’l`exas has, at times, ‘recognized an implied
Warranty for services only When the services relate to the repair or
modification of existing tangible goods or property.”’ Shakeri v. ADT Sec.
Servs., Inc., 816 F.3d 283, 294 (5th Cir. 2016) (quoting Rocky Mounto,in
Helicopters, Inc. v. Lubbock Cty. Hosp. Dist., 987 S.W.2d 50, 52-53 (Tex.
1998)); see Melody Home Mfg. Co. u. Barnes, 741 S.W.2d 349, 354 (Tex.
1987) (recognizing “an implied Warranty to repair or modify existing
~ tangible goods or property in a good and workmanlike manner”).

The following are the elements of a cause of action for breach of the
implied warranty of good and workmanlike performance of services:

l. The defendant sold services to the plaintiff

2. The services consisted of the repair or modification of the

plaintiffs existing tangible goods or property.

3. The defendant did not perform the services in a good and

workmanlike manner.

4. The plaintiff suffered injury.

O’CONNOR’S TEXAS CAUSES OF ACTION 1 172 (2019) (first citing Parkway

Co. v. Woodruff, 901 S.W.2d 434, 438-39 & n.3 (Tex. 1995); then citing

16

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 17 of 30

Archibald o. Act IIIArabians, 755 S.W.2d 84, 85 (Tex. 1988); and then
citing Melody Home, 741 S.W.2d at'354). n

Here, Defendant sold services to Plaintiff s insured, Specifically,
Defendant agreed to provide a “[c]omplete layover of all roof sections of
the church building” in exchange for payment by Plaintiffs insured. See
Compl. Ex. A, at 2.

However, Plaintiff does not establish that such services constitute a
repair or modification of Plaintiff s existing tangible goods or property and
therefore imply a warranty of good and Workmanlike performance of
services pursuant to Texas laW. See Melody Home, 741 S.W.2d at 354.
First, Plaintiff has not alleged that the property-lmmanuel Baptist
Church_belonged to Plaintiff s insured, Rather, Plaintiff s insured
merely contracted with the property owner to provide certain contract
work, including the roof replacement services See Compl. Ex. A.
Accordingly, the roof replacement services were not performed on
Plaintiffs, or Plaintiff s insured’s, tangible goods or property.
Furthermore, Plaintiff has not established that a general contractor can
bring a breach of implied Warranty claim in connection with services

performed on a third party’s property.

17

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 18 of 30

Additionally, Plaintiff has not established that the roof replacement
amounts to a repair or modification pursuant to Texas law. “A repair is
the restoration of something by replacing a part or fixing What is broken.”
O’CoNNoR’s TExAs CAUsEs oF AcTIoN 1 174 (2019) (citing MERRIAM-
WEBsTER’s CoLLEGIATE DIcTIoNARY 1055 (11th ed. 2003)). “[T]he term
‘modification’ broadly includes any change or alteration that ‘introduces
new elements into the details [of the subject matte'r] or cancels some of
them’ but Which leaves ‘the general purpose and effect of the subject
matter intact.”’ Archibald, 755 S.W.2d at 86. Here, Plaintiff has not
alleged that the roof Was previously broken, nor indicated that the
replacement involved introducing new elements into the details of the
roof. Accordingly, the Court is unable to conclude that Defendant’s
services Were a repair or modification such that they implied a warranty
pursuant to Texas laW.

In sum, Plaintiff s allegations do not sufficiently establish a cause of
action for breach of the implied warranty to repair or modify existing

tangible goods or property in a good and workmanlike manner.

18

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 19 of 30
ii. Implied Warranty to Perform Roof Replacement
Seruices in Good and Workmanlike Manner

To the extent that Plaintiff relies on an implied warranty to perform
roof replacement services in a good and Workmanlike manner-
independent of the warranty to perform repair or modification services in
a good and Workmanlike manner-the Court is not persuaded Plaintiff
does not cite authority demonstrating that Texas courts have recognized
the existence of an implied Warranty to perform roof replacement services
in a good and Workmanlike manner. Additionally, the Court is not
persuaded that Texas courts would recognize such a Warranty, as Plaintiff
has other adequate remedies

“[l]mplied Warranties that ‘services will be performed in a good and
workmanlike manner’ will generally only ‘arise under the common law
when public policy mandates.”’ Shakeri, 816 F.3d at 294 (quoting Rocky
Mountain Helicopters, 987 S.W.2d at 53). “Public policy does not justify
imposing an implied warranty for service transactions in the absence of a
demonstrated, compelling need” and “[t]here is no compelling need for an
implied warranty when other adequate remedies are available to the

consumer.” Rocky Mountain Helicopters, 987 S.W.2d at 53 (first citing

19

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 20 of 30

Pdrkway Co. u. Woodruff, 901 S.W.2d 434, 440 (Tex. 1995); and then citing
Dennis v. Allison, 698 S.W.2d 94, 96-97 (Tex. 1985)).

ln Rocky Mou,ntain Helicopters, the Supreme Court of Texas held
that “Texas law does not recognize an implied warranty that services
incidental to helicopter maintenance will be performed in a good and
Workmanlike manner” when the plaintiff had obtained a negligence
finding against the Defendant and breach of contract remedies were
conceivably available. Id. Similarly, in Shakeri, the Fifth Circuit held
that Texas courts would not recognize an implied Warranty in the repair
and modification of an alarm system when the plaintiffs had adequate
remedies in negligence and breach of contract causes of action. 816 F.3d
at 294-95.

To the extent that Plaintiff asserts that an implied warranty to
perform roof replacement services in a good and workmanlike manner
exists, the Court is not persuaded that public policy mandates the
imposition of such an implied Warranty. “There is no compelling need for
an implied warranty when other adequate remedies are available to the
consumer.” Rocky Mountain Helicopters, 987 S.W.2d at 53. As detailed

above, Plaintiff has established that Plaintiff is entitled to default

20

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 21 of 30

judgment on its negligence claim. Accordingly, as there are other
adequate remedies available to Plaintiff, there is no compelling need to
recognize an implied Warranty to perform roof replacement places in a
good and workmanlike manner.
iii. Implied Warranties of Fitness and Merchantability

Finally, Plaintiff claims that Plaintiff relied on Defendant’s “implied
warranties of fitness and merchantability . . . with respect to the roofing
Work.” Compl. 5. The implied warranties of fitness and merchantability
apply to the sale of goods See Tex. Bus. '& Com. Code Ann. § 2.315
(“Where the seller at the time of contracting has reason to know any
particular purpose for which the goods are required and that the buyer is
relying on the seller’s skill or judgment . . . , there is . . . an implied
warranty that the goods shall be fit for such purpose.”); Tex. Bus. & Com.
Code Ann. § 2.314 (“[A] Warranty that the goods shall be merchantable is
implied in a contract for their sale if the seller is a merchant With respect
to goods of that kind.”). Here, the contract between Plaintiffs insured and
Defendant is for Defendant’s roof replacement services and does not
involve the purchase of goods from Defendant Compl. Ex. A, at 3.

Specifically, the contract provides that “General Contractor [Plaintiff s

21

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 22 of 30

insured] shall furnish all necessary materials for the completion of the
job, and Subcontractor [Defendant] shall not provide any materials.” Id.
Accordingly, Plaintiff has not adequately established a breach of the
implied Warranties of fitness and merchantability.

ln sum, Plaintiff has failed to establish that Plaintiff s factual
allegations demonstrate a breach of warranty. Accordingly, based on the
allegations in Plaintiff s Complaint, the Court declines to enter default
judgment on Plaintiffs breach of warranty cause of action.

C. Damages

Plaintiff seeks damages in the amount of $77,183.13, as well as the
costs of suit, prejudgment interest, and post-judgment interest Compl. 5-
6.

Federal Rule of Civil Procedure 55(b)(2) authorizes a district court to
hold a hearing for the purpose of entering default judgment if necessary to
“conduct an accounting” or “determine the amount of damages.” “As a
general proposition, in the context of a default judgment, unliquidated
damages normally are not awarded without an evidentiary hearing.”
James v. Frame, 6 F.3d 307, 310 (5th Cir. 1993). However, an exception is

made “where the amount claimed is a liquidated sum or one capable of

22

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 23 of 30

mathematical calculation.” Id. “lf the damages can be computed with
certainty by reference to the pleadings and supporting documents alone,
an evidentiary hearing may not be necessary.” Frame v. S-H, Inc., 967
F.2d 194, 204 (5th Cir. 1992); see J&J Sports Prods., Inc. v. Gongora, No.
7:16-CV-00476, 2016 WL 6835288, at *1 (S.D. Tex. Nov. 21, 2016) (“[A]
district court may rely on detailed affidavits establishing the necessary
facts, particularly When ‘the amount claimed is a liquidated sum or one

913

capable of mathematical calculation ) (quoting United Artists Corp. v.
Freeman, 605 F.2d 854, 857 (5th Cir. 1979)). ln such a circumstance, “[a]n
evidentiary hearing would . . . reveal[] no pertinent information.” James,
6 F.3d at 31 1.

Here, Plaintiff has filed a detailed affidavit and documents that
establish the necessary facts in support of Plaintiff s claim for damages
See Aff. Based on these documents the Court determines that the
damages can be computed with certainty and, therefore, an evidentiary

hearing is not necessary.

1. Actual Damages

Plaintiff demands judgment against Defendant for damages in the

amount of $77,183.13. Compl. 5. ln support of Plaintiff s damages claim,

23

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 24 of 30

Plaintiff has filed its Affidavit and accompanying Exhibits. The Exhibits
include a Certified Weather Report, which indicates that “[a] brief light
rain shower occurred between 5 and 5:15 PlVl” at the Church location
(1201 Hawkins, Blvd. in El Paso, TX) on July 7, 2017. Aff. Ex. B, at 2. ln
addition, Plaintiff filed an estimate of damage by Frontier Adjusters of El
Paso, Which estimates the costs of repairs and provides photographs of the
damage to the Church. Aff. Ex. C.

Plaintiff explains that Plaintiff paid the Church $77,183.13 on
behalf of its insured as a result of the damages sustained to the Church.
Aff. 2. In support Plaintiff attaches a copy of a check evidencing payment
to Immanuel Baptist Church in the amount of $77,183.13. Id. Ex. H. In
addition, Plaintiff submits a “Property Damage Release,” Which reflects
the release of “Lariat Builders Group Corporation [and] Nautilus
lnsurance Company” from claims related to the occurrence on July 7 ,
2017, at the Church “for sole consideration of Seventy Seven Thousand
One Hundred Eighty Three Dollars and 13/ 100 Cents ($77,183.13) to be
paid to lmmanuel Baptist Church.” Id. at 2.

Additionally, Plaintiff details the specific basis for the total damages

figure of $77,183.13 as follows:

24

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 25 of 30

¢ $7,500.00 for lmmanuel Baptist Church’s leasing of gym
and volleyball courts from NOFVBC LLC, for three (3)
months, due to the inability to use the Immanuel Baptist
Church’s facility. See Gym Lease, attached . . . as
Exhibit I.

0 $65,077.28 for damages to lmmanuel Baptist Church’s
gym floor. See Frontier Adjusters Estimate with
Photographs, attached . . . as Exhibit C, at 2.

0 $4,605.85 for damages to Immanuel Baptist Church’s
Sanctuary Stage and Seating Area, including labor
minimum. See Frontier Adjusters Estimate with
Photographs, attached . . . as Exhibit C, at 2-4.

Aff. 3. In addition, Plaintiff provides documents evidencing each of the
damages, including the Gym Lease and the Frontier Adjusters Estimate
With Photographs. Aff. Exs. l, C.

Accordingly, the Court determines that Plaintiff s detailed affidavit
and Plaintiff s evidence support damages in the amount of $77,183.13.

2. Costs

Plaintiff also requests an award of costs Compl. 6. Regarding costs,
Federal Rule of Civil Procedure 54(d)(1) instructs that “costs . . . should be
allowed to the prevailing party.” Plaintiff constitutes a “prevailing party,”
as that term is employed in Rule 54, as it has “obtain[ed] actual relief,
such as an enforceable judgment . . . that materially alters the legal

relationship between the parties[] and . . . modifies the defendant’s

25

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 26 of 30

behavior in a Way that directly benefits the plaintiff at the time of the
judgment or settlement.” Dearmore l). City of Garland, 519 F.3d 517, 521
(5th Cir. 2008) (quoting Energy Mgmt. Corp. v. City of Shreveport, 467
F.3d 471, 482 (5th Cir. 2006)).

The Court will consequently tax costs against Defendant Pursuant
to Local Court Rule CV-54(a), Plaintiff must “prepare and file a proposed
bill of costs no later than 14 days after the entry of judgment,” and serve
its bill of costs on Defendant See Local Court Rule CV-54(a). Defendant
must file any objection to Plaintiff s bill of costs Within fourteen days Id.

3. Prejudgment Interest

ln addition, Plaintiff requests prejudgment interest Compl. 6.
“Under 28 U.S.C. § 1961(a), in diversity cases, post-judgment interest is
calculated at the federal rate, while pre-judgment interest is calculated
under state law.” Bos. Old Colon,y Ins. Co. v. Tiner Assocs. Inc., 288 F.3d
222, 234 (5th Cir. 2002) (citing Nissho-Iwai Co. v. Occidental Crade Sales,
848 F.2d 613 (5th Cir. 1988)). The Texas Finance Code provides for
prejudgment interest for “[a] judgment in a Wrongful death, personal
injury, or property damage case.” Tex. Fin. Code Ann. § 304.102.

However, “[i]n the absence of a statutory right to prejudgment interest,

26

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 27 of 30

Texas law allows for an award of equitable prejudgment interest under
Caunar v. Quality Control Parking, Inc., 696 S.W.2d 549 (Tex. 1985).”
Meaux Surface Prot., Inc. v. Fogleman, 607 F.3d 161, 172 (5th Cir. 2010)
(quoting Bituminous Cas. Corp. v. Vacuam Tanks, Inc., 75 F.3d 1048,
1057 (5th Cir. 1996)). “Under this standard, ‘an equitable award of
prejudgment interest should be granted to a prevailing plaintiff in all but
exceptional cir`cumstances.”’ Id. (quoting Bituminou,s, 75 F.3d at 1057).

d “Prejudgment interest, including an equitable award of prejudgment
interest, is.calculated in accordance with chapter 304 of the Texas
Finance Code.” Fairm,ont Specialty Ins. Co. l). Apodaca, 234 F. Supp. 3d -
843, 855 (S.D. Tex. 2017) (citing Arete Partners, L.P. v. Gun,nerman, 643
F.3d 410, 414-15 (5th Cir. 2011)). “Thus, prejudgment interest accrues as
simple interest on the amount of a judgment, beginning on the earlier of .
the 180th day after written notice of the claim or the date suit is filed and
ending on the day preceding the date judgment is rendered. . . .” Id. (first
citing Arete, 643 F.3d at 414-15; and then citing Tex. Fin. Code Ann.

§§ 304.003(c), 304.103, 304.104).
Here, Plaintiff is the prevailing party, Defendant has not opposed

Plaintiff s request for prejudgment interest, and there are no exceptional

27

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 28 of 30

circumstances precludingan award of prejudgment interest, Accordingly,
the Court is of the opinion that Plaintiff s request for prejudgment
interest should be granted.. Plaintiff provided formal notice of its claim to
Defendant on August 3, 2017. Aff. Ex. F. The 180th day after the date of
the formal notice is January 307 2018.4 As January 30, 2018, is earlier
than the filing date in this case, October 26, 2018, the prejudgment

interest accrues beginning on January 30, 2018,

4. Post-Judgment lnterest

Finally, regarding post-judgment interest, “[i]nterest shall be
allowed on any money judgment in a civil case recovered in a district
court.” 28 U.S.C. § 1961(a). “Such interest shall be calculated from the
date of the entry of the judgment, at a rate equal to the weekly average 1-
year constant maturity Treasury yield, as published by the Board of
. Governors of the Federal Reserve System, for the calendar week preceding

. . . the date of the judgment.” Id. “lnterest shall be computed daily to the
date of payment . . . and shall be compounded annually.” § 1961(b).
IV. CONCLUSION
Accordingly, IT IS ORDERED that Plaintiff Nautilus lnsurance

Company a/s/o Lariat Builders Group Corporation’s “Motion for Entry of

28

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 29 of 30

Default Judgment” (ECF No. 16) is GRANTED IN PART AND DENIED
IN PART.

IT IS FURTHER ORDERED that DEFAULT JUDGMENT is
hereby ENTERED in favor of Plaintiff Nautilus lnsurance Company a/s/o
Lariat Builders Group Qorporation, and against Defendant A Best
American Roofing Company, LLC, as to Plaintiff Nautilus lnsurance
Company afs/o Lariat Builders Group Corporation’s negligence claim,
pursuant to Federal Rule of Civil Procedure 55(b)(2).

IT IS FURTHER ORDERED that Plaintiff Nautilus lnsurance
Company a/s/o Lariat Builders Group Corporation is AWARDED
judgment of $77,183.13.

IT IS FURTHER ORDERED that Defendant A Best American
Roofing Company, LLC PAY pre-judgment interest at the rate of 5.5%
beginning on January 30, 2018, and ending on the day preceding the date
this judgment is issued.

IT IS FURTHER ORDERED that Defendant A Best American
Roofing Company, LLC PAY post-judgment interest at the rate of 2.4%
until the judgment imposed herein is paid in full, with interest to be

compounded annually.

29

Case 3:18-cv-00320-PR|\/| Document 24 Filed 04/03/19 Page 30 of 30

IT IS FURTHER ORDERED that Plaintiff Nautilus lnsurance
Company a/s/o Lariat Builders Group Corporation is AWARDED costs, to
be taxed against Defendant A Best American Roofing Company, LLC.
Plaintiff shall PREPARE and FILE a proposed bill of costs no later than
fourteen days after the entry of this Order, and shall SERVE its bill of
costs on Defendant A Best American Roofmg Company, LLC,

IT IS FURTHER ORDERED that all settings in this matter are
VACATED.

IT IS FURTHER ORDERED that all pending motions, if any, are
DENIED AS MOOT.

IT IS FINALLY ORDERED that the CLERK shall CLOSE this

matter.

SIGNED this 3rd day of April, 2019.

 

PHILIP'R. RTI z
UNITED sTAT DISTRICT JUDGE

30

